

People v Garcia (2022 NY Slip Op 00734)





People v Garcia


2022 NY Slip Op 00734


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Kapnick, J.P., Mazzarelli, Gesmer, Kennedy, Pitt, JJ. 


Ind No. 389/18 Appeal No. 15200 Case No. 2019-1508, 2019-01692 

[*1]The People of The State of New York, Respondent, 
vCarlos Garcia, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Lawrence T. Hausman of counsel), and Kramer Levin Naftalis &amp; Frankel LLP, New York (Aaron L. Webman of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Trabutton of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Curtis J.. Farber, J.), rendered November 26, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








